Case 1:04-cv-01267-.]DT-tmp Document 32 Filed 06/30/05 Page 1 of 4 Page|D 36

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IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 05 JUN 30 PH 2- |,l
EASTERN DIvIsIoN '

ROGER D. RILEY,
PLAINTIFF,
VS.

WAL-MART sToRE #335, wAL-mm'r
ASSOCIATES, INC., WAL~MART
STORES, INC., WAL-MART STORES
EAST, INC.,r A&M CLEANING
PRODUCTS, INC., BIO-LAB, INC.,r
Individually and as Owner of
A&M CLEANING PRODUCTS, INC. ,
BIO-LI-\B,r INC., as a wholly-

Owned subsidiary of GREAT LAKES

CHEMICAL CORPORATION, GREAT LAKES
CHEMICAL CORPORATION, Individually
AUTOMATED PACKAGING SYSTEMS, INC.

AUTOMATED PACKAGING SYSTEMS
SOUTHEAST, LLC, CKS PACKAGINGr
INC.,r and PACKAGE SUPPLY &
EQUIPMENT CO., INC.,

DEFENDANTS.

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NO. 1-04-1267“T-P

 

UNGFFBBEB~ORDER GRANTING EXTENSION OF TIME TO
AUTOMATED PACKAGING SY.'STEMS,r INC. FOR
RESPONSE TO AMENDED COMPLAINT

 

THIS CAUSE came on to be heard upon the written motion of

Automated Packaging Systems, Inc.

2005 through July 14, 2005,

Complaint.

for an extension from June 24,

to file a response to the Amended

It appearing to the Court that Plaintiff's counsel does not

oppose the motion and that t e motion should be granted to

  

This document entered on the docket a
" '*a 58 andlor 79(3) FRGF on

Case 1:04-cv-01267-.]DT-tmp Document 32 Filed 06/30/05 Page 2 of 4 Page|D 37

enable plaintiff's counsel to consider, prepare, circulate and
file a Stipulation of Dismissal as to at least defendant
Automated Packaging Systems, Inc.;

IT IS, THEREFOR.E, ORDERED, ADJUDGED AND DECREED that
Defendant Automated Packaging Systems, Inc. be,. and is hereby,

granted an extension through July 14, 2005, to file a response

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U.S. DTSTRI€T“€QURT JUDGE
MQBQHTGBQ

DATE: ’IowL 3 <S, LGQ.\'_

to the Amended Complaint.

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:04-CV-01267 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

